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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                          Case No. 9:18–CV–81147–BLOOM–REINHART

  UNITED STATES OF AMERICA,                   )
                                              )
         Plaintiff,                           )
                                              )
         v.                                   )
                                              )
  ISAC SCHWARZBAUM,                           )
                                              )
         Defendant.                           )
                                              )

  OBJECTION TO CLERK’S NOTICE OF POST-JUDGMENT REPATRIATION ORDER
         Isac Schwarzbaum hereby files his objection to the Clerk’s Notice of Post-Judgment
  Repatriation Order and Instructions to Judgment Debtor Isac Schwarzbaum. Mr. Schwarzbaum
  reserves the right to request a hearing if and when any collection remedy sought by the United
  States is authorized.
    I.   Background
         After a five-day bench trial and post-trial motions, this Court entered an amended final
  judgment on August 28, 2020 imposing FBAR penalties in the amount of $12,555,813, plus
  interest and late payment penalties. ECF No. 105. Thereafter, on June 3, 2021, the United States
  filed a motion requesting that the Court order Mr. Schwarzbaum to repatriate foreign assets in the
  amount of $18,227,465.89. ECF No. 115. In connection with such motion and by order of the
  Court, on June 7, 2021, the Clerk issued the notice that the United States seeks to compel Mr.
  Schwarzbaum to repatriate certain of his assets held at Privatbank Reichmuth & Co., Rahm &
  Bodmer, and PostFinance AG. ECF No. 115-1. Mr. Schwarzbaum objects.
   II.   Introduction
         Mr. Schwarzbaum has resided outside the United States, and predominantly in Europe, for
  the majority of his life. Nearly all of the funds at issue have been in the custody of Swiss banks
  since Mr. Schwarzbaum’s father first deposited such funds decades ago—long before Mr.
  Schwarzbaum inherited his first Swiss bank account.
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         The United States Supreme Court has acknowledged courts’ inherent authority in
  discharging their responsibilities, but simultaneously cautioned those courts that such powers
  “must be delimited with care,” and should be a “reasonable response to the problems and needs
  that provoke it[.]” See Degen v. United States, 517 U.S. 820, 823-24 (1996) (reversing the court
  of appeals decision to strike civil forfeiture filings of a dual citizen who failed to appear in a
  criminal proceeding).
         Mr. Schwarzbaum’s case is currently pending appeal in the Eleventh Circuit Court of
  Appeals, and if successful,1 the United States’ collection efforts will end and, if necessary, be
  unwound. In the interim, the United States has conceded that it cannot collect the FBAR penalties
  through traditional, legally enacted methods. Like any other judgment creditor, the United States
  must not be permitted to petition this Court to fashion an unprecedented and legally dubious
  solution to its money judgment collection difficulties.
  III.   Mr. Schwarzbaum’s Property Is Protected By the Florida Constitution
         Mr. Schwarzbaum maintained a primary residence in Palm Beach County, Florida2 that is
  protected by the Florida Constitution’s homestead exemption. The homestead exemption applies
  to the sales proceeds from the protected residence. Accordingly, any funds derived from the sale
  of Mr. Schwarzbaum’s Palm Beach County homestead property are exempt from any collection
  efforts by the United States.
         The Florida Constitution provides that homestead property is exempt property for purposes
  of satisfying judgments, except in very limited circumstance.
                 “[t]here shall be exempt from forced sale under process of any court,
                 and no judgment, decree or execution shall be a lien thereon, except
                 for the payment of taxes and assessments thereon, obligations
                 contracted for the purchase, improvement or repair thereof, or
                 obligations contracted for house, field, or other labor performed on
                 the realty.”



  1
    The Southern District of New York agreed with Mr. Schwarzbaum’s argument that the case
  should be remanded back to the IRS. See United States v. Gentges, -- F. Supp. 3d --, No. 7:18-cv-
  07910-KMK, 2021 WL 1222764 at *16 (S.D.N.Y. Mar. 31, 2021) (determining that use of non-
  June 30 account balances was “an arbitrary expedient” and setting aside an invalid FBAR penalty
  assessment).
  2
    The property is located at 250 Edenberry Ave., Jupiter, FL 33458.

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  Fla. Const. art. X, § 4(a). The owner’s property is exempt up to one-half acre when the homestead
  property is located within a municipality. Id. at § 4(a)(1).
         Florida’s homestead protection laws offer individuals a strong degree of protection—to the
  extent that courts have held that even a homestead acquired with specific intent to hinder, delay,
  or defraud creditors qualified for homestead protection. See Havoco of America, Ltd. v. Hill, 790
  So. 1018 (Fla. 2001) (concluding that the homestead exemption applied even though the debtor
  transferred nonexempt assets into an exempt homestead because the intent to hinder or defraud
  creditors is not one of the express exceptions to the homestead exemption). In Havoco, the Florida
  Supreme Court reasoned that the “plain and unambiguous” language of the Florida Constitution
  expressed only three exceptions to the homestead exemption:              (i) payment of taxes and
  assessments, (ii) obligations contracted for the purchase, improvement or repair of the property,
  and (iii) obligations contracted for house, field, or other labor performed on the realty. Id. at 1022.
         A residence titled in the name of a revocable trust similarly enjoys the same homestead
  creditor protection. Because the homestead exemption “is designed to provide solidarity and
  preservation of the home[,]” the protection is “liberally construed.” In re Edwards, 356 B.R. 807,
  810 (Bankr. M.D. Fla. 2006). The owner’s actual use of the property as the principal residence is
  the primary consideration in determining the applicability of the homestead exemption. Id. In
  Edwards, the debtor held title to the homestead property through a revocable trust. The court
  concluded the property was protected by the homestead exemption because the revocable nature
  of the trust meant the grantor retained an ownership interest in the property. Id.
         Mr. Schwarzbaum’s homestead protected property was located within the municipality of
  Jupiter, Florida. The area of the subject property was 0.1435 acres, well below the half-acre
  limitation. Mr. Schwarzbaum held title to the subject property through the Isac Schwarzbaum
  Revocable Trust, but like Edwards, Mr. Schwarzbaum retained ownership of the property due to
  the revocable nature of the trust. Accordingly, Mr. Schwarzbaum’s Jupiter, Florida home, and any
  proceeds thereof, is protected by the homestead exemption in the Florida Constitution.
  IV.    Mr. Schwarzbaum’s Assets Described in the Clerk’s Notice Are Outside the Court’s
         Jurisdiction

         Mr. Schwarzbaum confirmed in his response to the United States’ motion for a repatriation
  order that nearly all of his funds have never left the custody of his Swiss banks. To overcome this
  legal obstacle, the United States seeks cover from the Court by requesting that Mr. Schwarzbaum
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  be compelled to deliver to it funds it lacks the ability to retrieve through appropriate collection
  methods. The government conceded in its motion that the Federal Debt Collection Procedures Act
  provides the exclusive means by which it can collect a money judgment derived from an FBAR
  penalty. ECF No. 115, p. 7. The United States’ request that Mr. Schwarzbaum be compelled to
  transfer over $18 million in Swiss bank account funds to the government is nothing more than a
  garnishment request cloaked in a different name. But as the United States is aware, this Court
  lacks jurisdiction to garnish Mr. Schwarzbaum’s Swiss bank accounts.
         District courts lack subject matter jurisdiction to garnish funds in bank accounts outside
  their respective jurisdictions. See Stansell v. Revolutionary Armed Forces of Colombia (FARC),
  149 F. Supp. 3d 1337 (M.D. Fla. 2015). Garnishment is a quasi in rem action, and as such,
  garnishment requires personal jurisdiction over the garnishee and jurisdiction over the property
  subject to garnishment. Id. See also APR Energy, LLC v. Pakistan Power Resources, LLC, 2009
  WL 425975 (M.D. Fla. 2009) (concluding that garnishment does not reach property outside the
  territorial jurisdiction of the court even if the court has personal jurisdiction over the garnishee).
         Unlike personal jurisdiction, in rem jurisdiction cannot be waived. Center Capital Corp.
  v. Gulfstream Crane, LLC, 2009 WL 4909430 at *7 (S.D. Fla. 2009) (stating “a party cannot waive
  in rem jurisdiction under Florida law, and a court proceeding pursuant to in rem jurisdiction must
  actually possess in rem jurisdiction over the property that is the subject of the matter.”). Further,
  the laws of the foreign jurisdiction where the property is located should be considered. See United
  States v. Salti, 579 F.3d 656 (6th Cir. 2009) (forfeiture case in which the court acknowledged the
  general practice of considering the foreign jurisdiction’s laws, which in that case, were Swiss
  banking laws).
         The United States seeks the funds in Mr. Schwarzbaum’s Swiss bank accounts despite the
  pending appeal before the Eleventh Circuit.            Whether the action is labeled repatriation or
  garnishment, it is a distinction without a difference as the consequence is the same—funds that
  have never left Switzerland are taken from Mr. Schwarzbaum’s accounts and transferred to the
  government. However, this Court lacks jurisdiction over the Swiss bank accounts at issue and Mr.
  Schwarzbaum cannot waive such jurisdiction.              Accordingly, the funds held at Privatbank
  Reichmuth & Co., Rahm & Bodmer, and PostFinance AG are exempt from repatriation or
  garnishment.


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   V.    Conclusion
         Mr. Schwarzbaum’s financial accounts at Privatbank Reichmuth & Co., Rahm & Bodmer,
  and PostFinance AG are exempt from collection because the Florida Constitution provides robust
  homestead exemption protection and this Court lacks jurisdiction over Mr. Schwarzbaum’s Swiss
  bank accounts.
         Dated: June 28, 2021                HOLLAND & KNIGHT LLP

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 28, 2021, I electronically filed the foregoing document

  with the clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on counsel of record identified via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                              /s/ Jose A. Casal
                                              Jose A. Casal




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